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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON

UNITED STATES OF AMERICA

v.                                               CRIMINAL NO. 2:93-00196-02

JEROME MAURICE THOMAS

                 MEMORANDUM OPINION AND JUDGMENT ORDER

        Pending before the court is defendant’s motion, pursuant to

18 U.S.C. § 3582(c)(2), for a reduction in his sentence based on

a subsequent reduction in the applicable sentencing guideline.

(ECF No. 404).        On April 30, 2014, the United States Sentencing

Commission submitted to Congress an amendment to the federal

sentencing guidelines that reduces the guidelines applicable to

drug trafficking offenses.        Specifically, Amendment 782 reduces

by two the offense levels assigned in the Drug Quantity Table,

resulting in lower guideline ranges for most drug trafficking

offenses.    Amendment 782, sometimes called “drugs minus two” or

the “2014 drug guidelines amendment,” took effect on November 1,

2014.    On July 18, 2014, the Sentencing Commission voted to give

retroactive effect to Amendment 782.           Amendment 782 is however

subject to the following limitation: “The court shall not order a

reduced term of imprisonment based on Amendment 782 unless the

effective date of the court’s order is November 1, 2015, or

later.”    U.S.S.G. § 1B1.10(e)(1).        Counsel was appointed to

represent defendant and the parties were directed to file

memoranda in support of their positions.
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     The Court has received and considered the original

Presentence Investigation Report (PSI), original Judgment and

Commitment Order, addenda to the PSI received from the Probation

Office, and materials submitted by the parties on this issue.

The Court has also considered the applicable factors under 18

U.S.C. § 3553(a), consistent with § 3582(c)(2), and public

safety.

     The United States acknowledges that defendant is eligible

for a sentence reduction.

     At defendant’s original sentencing hearing, his Total

Offense Level was determined to be a 44.1             With a Criminal

History Category of IV, his guideline imprisonment range was life

and the court sentenced him to life imprisonment.              As a result of

the 2007 amendments, defendant’s Total Offense Level became a 42.

The 2011 amendments resulted in a further two-level reduction in

defendant’s Base Offense Level resulting in a new Total Offense

Level of 40.    Defendant’s revised guideline range as a result of

the amendments became 360 months to life.             By Order entered on

July 1, 2013 and for the reasons expressed therein, the court

deemed that a reduction in defendant’s sentence was not warranted

based upon these amendments.




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       The sentencing judge in this matter was the Honorable
Charles H. Haden, II. The matter was reassigned to the
undersigned as a result of Judge Haden’s death.

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     Amendment 782 has resulted in a further two-level decrease

in defendant’s base offense level.         Therefore, his guideline

range is now 324 to 405 months, based upon a total offense level

of 38 and a criminal history category of IV.

     On April 12, 1994, a federal grand jury returned an

indictment charging defendant in three counts of a four-count

superseding indictment.      Count One charged defendant with

conspiracy to distribute cocaine base and heroin, in violation of

21 U.S.C. § 846.      Count Two charged him with possession with

intent to distribute cocaine base, in violation of 21 U.S.C. §

841(a)(1), while Count Three charged him with aiding and abetting

with intent to distribute a quantity of heroin, in violation of

21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2.              On June 23, 1994, a

jury found defendant guilty on Counts One, Two, and Three of the

superseding indictment.

     As noted above, at his original sentencing, defendant’s

guideline range was calculated to be life and he was sentenced to

life imprisonment.     At sentencing, the court determined that a

death resulted from the offenses of conviction but declined to

depart upward from the guideline range.

     As part of the offense conduct in this case, on November 21,

1990, law enforcement approached a vehicle driven by defendant.

A passenger in the vehicle, Thomas’ co-defendant, exited the

vehicle and fired several rounds from a handgun at law


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enforcement personnel and an informant.          After an exchange of

gunfire, defendant fled from the scene and a high-speed police

chase ensued.    Maintaining speeds in excess of 80 miles per hour

during the chase, the car driven by defendant veered off the road

and struck a 19-year-old bicyclist, David Sergent.             Defendant

continued to flee from police, even after hitting Sergent.

Eventually defendant was apprehended when the car he was driving

crashed during the chase.      Sergent died that same day as a result

of being hit by the car driven by defendant.

     Defendant has had multiple disciplinary problems while

incarcerated.    He has been sanctioned for possessing a dangerous

weapon on two occasions, engaging in a group demonstration,

refusing to obey orders on two occasions, assaulting without

serious injury, fighting with another person on two occasions,

and telephone abuse.      To his credit, the latest addendum from the

Probation Office does not indicate that he has received any

recent infractions.      In addition, defendant has obtained his GED

while incarcerated and completed a number of programs offered by

the BOP.   In addition, he satisfied his financial assessments in

April 2015.

     Under 18 U.S.C. § 3582(c)(2), a defendant “sentenced to a

term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission,” may have

his term of imprisonment reduced if “after considering the


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factors set forth in section 3553(a) to the extent that they are

applicable, [ ] such a reduction is consistent with applicable

policy statements issued by the Sentencing Commission.”               Whether

to reduce a sentence and the extent of any such reduction is a

matter of the district court’s discretion.            See United States v.

Smalls, No. 12-6201, 2013 WL 3037658, *1 (4th Cir. June 19, 2013)

(citing United States v. Legree, 205 F.3d 724, 727 (4th Cir.

2000)).

     In considering whether to reduce a sentence under § 3582, a

district court is required to consider the relevant factors

listed in 18 U.S.C. § 3553(a), which include:

     (1)   the nature and circumstances of the offense and the
           history and characteristics of the defendant;

     (2)   the need for the sentence imposed-

           (A)   to reflect the seriousness of the offense, to
                 promote respect for the law, and to provide just
                 punishment for the offense;

           (B)   to afford adequate deterrence to criminal conduct;

           (C)   to protect the public from further crimes of the
                 defendant; and

           (D)   to provide the defendant with needed educational
                 or vocational training, medical care, or other
                 correctional treatment in the most effective
                 manner;

     (3)   the kinds of sentences available;

     (4)   the kinds of sentence and the sentencing range
           established for-




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          (A)   the applicable category of offense committed by
                the applicable category of defendant as set forth
                in the guidelines-

                (i)    issued by the Sentencing Commission pursuant
                       to section 994(a)(1) of title 28, United
                       States Code, subject to any amendments made
                       to such guidelines by act of Congress
                       (regardless of whether such amendments have
                       yet to be incorporated by the Sentencing
                       Commission into amendments issued under
                       section 994(p) of title 28); and

                (ii) that, except as provided in section 3742(g),
                     are in effect on the date the defendant is
                     sentenced; or

          (B)   in the case of a violation of probation or
                supervised release, the applicable guidelines or
                policy statements issued by the Sentencing
                Commission pursuant to section 994(a)(3) of title
                28, United States Code, taking into account any
                amendments made to such guidelines or policy
                statements by act of Congress (regardless of
                whether such amendments have yet to be
                incorporated by the Sentencing Commission into
                amendments issued under section 994(p) of title
                28);

    (5)   any pertinent policy statement-

          (A)   issued by the Sentencing Commission pursuant to
                section 994(a)(2) of title 28, United States Code,
                subject to any amendments made to such policy
                statement by act of Congress (regardless of
                whether such amendments have yet to be
                incorporated by the Sentencing Commission into
                amendments issued under section 994(p) of title
                28); and

          (B)   that, except as provided in section 3742(g), is in
                effect on the date the defendant is sentenced.

    (6)   the need to avoid unwarranted sentence disparities
          among defendants with similar records who have been
          found guilty of similar conduct; and



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     (7)     the need to provide restitution to any victims of the
             offense.

18 U.S.C. § 3553(a).       According to Application Note 1(B) of the

guidelines, a court should also consider “the nature and

seriousness of the danger to any person or the community that may

be posed by a reduction in the defendant's term of imprisonment.

. . .”   U.S.S.G. § 1B1.10 n. 1(B)(ii).          The guidelines also allow

the court to “consider post-sentencing conduct of the defendant

that occurred after imposition of the original term of

imprisonment in determining: (I) whether a reduction in the

defendant’s term of imprisonment is warranted; and (II) the

extent of such reduction. . . . ”         U.S.S.G. § 1B1.10 n.

1(B)(iii).

     Whether to reduce a sentence is within the discretion of the

district court.       United States v. Stewart, 595 F.3d 197, 200 (4th

Cir. 2010).    “The court is not required to reduce a defendant’s

sentence, even where the current sentence is above the amended

guidelines range.”      Id.

     In its earlier order denying the motions for a sentence

reduction, the court expressed its belief that the appropriate

sentence in this case remained life imprisonment.              However, given

the change in the legal landscape since defendant’s original

sentencing and his efforts while incarcerated to better his life,

as laid out in defendant’s filings (ECF Nos. 404, 408, and 409),



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the court is persuaded by defendant’s arguments regarding his

suitability for a reduction in sentence.

     Therefore, consistent with 18 U.S.C. § 3582(c)(2), the court

has considered the factors set forth in 18 U.S.C. § 3553(a), as

well as the defendant's post-sentencing conduct and public

safety, and has determined that the motion for a sentence

reduction should be granted.           Based on the foregoing

considerations, the court GRANTS defendant’s motion under

Amendment 782.        It is further ORDERED that defendant’s previous

sentence be reduced to 360 months on each of Counts One and Two,

sentences to run concurrently with each other and with Count

Three,2 resulting in a new total term of imprisonment of 360

months.   This Order is further subject to the prohibitions

contained within U.S.S.G. § 1B1.10(b)(2)(c) and U.S.S.G. §

1B1.10(e)(1).    Finally, all other aspects of the previously

imposed Judgment Order remain in full force and effect.

     The Clerk is DIRECTED to send a copy of this Memorandum

Opinion and Judgment Order to defendant, counsel of record, the

United States Marshal for the Southern District of West Virginia,

and to the United States Probation Office for forwarding to the

Sentencing Commission and Bureau of Prisons.




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       The sentence of twenty years on Count Three remains
unchanged.

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    It is SO ORDERED this 15th day of September, 2016.

                                          ENTER:



                                         David A. Faber
                                         Senior United States District Judge




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